128 F.3d 675
    John E. COONLEY, As Trustee of the James E. Coonley IITrust;  ABCM Corporation, Appellants,v.FORTIS BENEFITS INSURANCE COMPANY, Appellee.
    No. 97-1446NI.
    United States Court of Appeals,Eighth Circuit.
    Submitted Oct. 22, 1997.Decided Oct. 30, 1997.
    
      Appeal from the United States District Court for the Northern District of Iowa;  H. Mark W. Bennett, Judge.
      Before FAGG, WOLLMAN, and MORRIS SHEPPARD ARNOLD, Circuit Judges.
      PER CURIAM.
    
    
      1
      John E. Coonley, as Trustee of the James E. Coonley II Trust, and ABCM Corporation appeal an adverse grant of summary judgment on their claim that James E. Coonley II was an insured employee under a group life insurance policy governed by the Employment Retirement Income Security Act of 1974.  See Coonley v. Fortis Benefits Ins. Co., 956 F.Supp. 841 (N.D.Iowa 1997).  Having reviewed the record and the parties' submissions, we conclude that an extensive discussion is not warranted.  The district court has written a comprehensive opinion addressing the issues raised by the parties, and we have nothing to add to the district court's analysis.  We see no error by the district court and affirm the judgment substantially for the reasons stated in the district court's memorandum opinion.  See 8th Cir.  R. 47B.
    
    